CM/ECF-GA Northern District Court                                 https://gand-ecf.sso.dcn/cgi-bin/GANDc_mkmin.pl?823913544064912-...
                          Case 1:18-cv-04809-ELR Document 46 Filed 07/22/20 Page 1 of 1




                                                  1:18-cv-04809-ELR
                                                  Palast et al v. Kemp
                                               Honorable Regina D Cannon

                                Minute Sheet for proceedings held In Open Court on 07/22/2020.


              TIME COURT COMMENCED: 10:08 A.M.
              TIME COURT CONCLUDED: 4:05 P.M.                    TAPE NUMBER: ZOOM
              TIME IN COURT: 5:57                                DEPUTY CLERK: Phyllis Brannon
              OFFICE LOCATION: Atlanta

         ATTORNEY(S)                Brian Lake representing Brian Kemp
         PRESENT:                   Jeanne Mirer representing Greg Palast
                                    Jeanne Mirer representing Helen Butler
                                    Vincent Russo representing Brian Kemp
                                    George Spears representing Greg Palast
                                    George Spears representing Helen Butler
         PROCEEDING
                                    Settlement Conference;
         CATEGORY:
         MINUTE TEXT:               A mediation was held by Zoom videoconferencing. The parties will have
                                    until July 24, 2020 to consider the proposed settlement agreement.




1 of 1                                                                                                            7/22/2020, 6:51 PM
